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                       N THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


In re:                                                      Chapter 11

ARSENAL RESOURCES DEVELOPMENT                               Case No. 19-12347 (BLS)
LLC, et al
                                                            (Joint Administration Requested)
                      Debtors.1


         NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

         PLEASE TAKE NOTICE that, pursuant to § 1109(b) of the United States Bankruptcy

Code, if applicable, and Rules 2002 and 9010(b) of the Bankruptcy Rules, the undersigned

counsel for Columbia Gas Transmission, LLC (“TCO”) hereby enters their appearance and such

counsel hereby requests that notice of all papers, including but not limited to orders, reports,

pleadings, motions, applications or petitions, requests, disclosure statements, answer and reply

papers, and notice of all hearings or other proceedings, whether transmitted by mail, hand-

delivery, telephone, telegraph, telex, facsimile or otherwise, relating to any issue which may be

raised in the above-captioned case be sent to:




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  The debtors in the chapter 11 cases, along with the last four digits of each debtor’s United States federal tax
identification number, are: Arsenal Resources Development LLC (4072); Arsenal Energy Holdings LLC (6279);
Arsenal Resources Intermediate Holdings LLC (5901); Arsenal Resources Energy LLC (2820); Arsenal Resources
Development Holdings 2 LLC (3020); Arsenal Resources Development Holdings 1 LLC (9647); Arsenal Gas
Marketing LLC (1113); Arsenal Midstream LLC (9654); Arsenal Water LLC (2465); Ulysses Gathering LLC
(6546); Mar Key LLC (5428); Arsenal Resources LLC (3422); River Ridge Energy Holdings, LLC (8135); River
Ridge Energy, LLC (5623); River Ridge Pennsylvania, LLC (5444); River Ridge Operating, LLC (4051); and
Seneca-Upshur Petroleum, LLC (9204). The debtors’ mailing address is 6031 Wallace Road Ext., Suite 300,
Wexford, PA 15090.
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        PLEASE TAKE FURTHER NOTICE that this request includes not only the notices

and papers referred to in the Bankruptcy Rules and the Bankruptcy Code provisions specified

above, but also includes all orders and notices of any application, motion, petition, pleading,

request, complaint, or demand, whether formal or informal, whether written or oral, and whether

transmitted or conveyed by mail, courier service, hand-delivery, telephone, facsimile

transmission, electronically, or otherwise, that: affect or seek to affect in any way the rights or

interests of TCO, or any other party-in-interest in this proceeding; or require or prohibit, or seek

to require or prohibit, any act, delivery of any property, payment or other conduct by TCO or any

other party-in-interest.




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         PLEASE TAKE FURTHER NOTICE that the foregoing simply constitutes a demand

and request for service and does not constitute consent to the jurisdiction of the Bankruptcy

Court.

         PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance nor any

prior or later appearance, pleading, claim, or suit shall waive any right of TCO to (a) have final

orders in non-core matters entered only after de novo review by a District Court judge, (b) trial

by jury in any proceeding so triable in these cases or any case, controversy, or proceeding related

to this proceeding, (c) have the District Court withdraw the reference in any matter subject to

mandatory or discretionary withdrawal, or (d) any other rights, claims, actions, defenses, setoffs

or recoupments, under agreements, in law, in equity, or otherwise, all of which are expressly

reserved.

Dated: November 12, 2019                     K&L GATES LLP

                                              /s/ Steven L. Caponi
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                             CERTIFICATE OF SERVICE

      I, Steven L. Caponi, Esq., hereby certify that on November 12, 2019, I caused a copy of

the forgoing Notice of Appearance and Request for Service of Papers to be served on those

persons receiving notice through CM/ECF.

                                                        /s/ Steven L. Caponi
                                                        Steven L. Caponi, Esq. (No. 3484)
